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 6                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 7                                            AT TACOMA
 8
                                           )
 9
      UNITED STATES OF AMERICA,            ) No. CR12-5139BHS
                                           )
10
                           Plaintiff,      ) PROTECTIVE ORDER
                                           )
11
                v.                         )
                                           )
12
      LUCY ANNE HYDER, and                 )
      RUTH LOUISE BRANSTETTER,             )
13
                                           )
                               Defendants. )
14
                                           )

15           This matter, having come before the Court on a Motion for Entry of a Protective Order,

16   the Court hereby enters the following with respect to defendants, LUCY ANNE HYDER and

17   RUTH LOUISE BRANSTETTER:

18                                        PROTECTIVE ORDER

19           The personal information related to any victims or potential witnesses, and any document

20   containing personal information related to any victims or potential witnesses, provided by the

21   government in discovery, is deemed Protected Material. As used in this Order, the term

22   “personal information” refers to each victim’s or potential witness’s date of birth, Social Security

23   number, driver’s license number, bank account numbers, credit/debit card numbers, personal

24   identification numbers, address, telephone number, location of employment, and other contact

25   information.

26           Possession of Protected Material is limited to the attorneys of record in the above

27   captioned case and members of the defense teams assigned to assist with the representation of

28   the defendants. The attorneys of record and members of the defense teams may not provide


     PROTECTIVE ORDER/DOOR et al.                                                       UNITED STATES ATTORNEY
                                                                                         700 Stewart Street, Suite 5220
     No. CR12-5139BHS - 1
                                                                                        Seattle, Washington 98101-1271
                                                                                                 (206) 553-7970
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 1   copies of the Protected Material to any other person, including any defendant in this case, unless

 2   personal information relating to persons other than the defendants or law enforcement officers is

 3   redacted, as discussed below.

 4           This order does not prohibit defense counsel or members of the defense team from

 5   reviewing or discussing the contents of documents containing personal information with the

 6   defendants and prospective witnesses, and providing copies of documents in which personal

 7   information relating to persons other than the defendants or law enforcement officers is redacted,

 8   as long as the attorneys of record do not share any such personal information with the defendants

 9   or prospective witnesses. Counsel and counsel’s employees shall keep any Protected Material

10   secured whenever the Protected Material is not being used in furtherance of their work in the

11   above captioned case.

12           This Order may be modified if circumstances warrant and upon Order of the Court.

13           Violation of this Protective Order shall subject the violator to contempt of Court, or any

14   monetary or other sanctions deemed appropriate by the Court.

15           DATED this 25th day of April, 2012.




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19                                                         BENJAMIN H. SETTLE
                                                           United States District Judge
20

21   Presented by:
22
     s/ Steven T. Masada
23   STEVEN T. MASADA
     Assistant United States Attorney
24
     s/ Roger A. Hunko (by e-mail authorization)
25
     ROGER A. HUNKO
26   Attorney for Lucille Hyder

27   s/ William R. Michelman (by e-mail authorization)
28
     WILLIAM R. MICHELMAN
     Attorney for Ruth Branstetter

     PROTECTIVE ORDER/DOOR et al.                                                       UNITED STATES ATTORNEY
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     No. CR12-5139BHS - 2
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